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Gross, et al. vy. Knauf Gips, KG, et al.

Exhibit “C”-Plaintiffs’ Counsel and Pro Se Plaintiffs Contact Information in
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Case 2:09-md-02047-EEF-MBN Document 2187-4 Filed 03/23/10 Page 5 of 66

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Case 2:09-md-02047-EEF-MBN Document 2187-4 Filed 03/23/10 Page 14 of 66

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Case 2:09-md-02047-EEF-MBN Document 2187-4 Filed 03/23/10 Page 15 of 66
Case 2:09-md-02047-EEF-MBN Document 2187-4 Filed 03/23/10 Page 16 of 66

Gross, et al. vy. Knauf Gips KG, et ab.

Schedule "1''— List of Distributor/Supplier/importer/Exporter/Broker Subclasses to
Mary Anne Benes’ Substituted and Amended Omnibus Class Action Complaint (ELD)

Subclass #1:
Subclass #2:
Subclass #3:
Subclass #4:
Subclass #5:
Subclass #6:
Subclass #7:
Subclass #8:
Subclass #9:

Subclass #10:
Subclass #11:
Subclass #12:
Subclass #13:
Subclass #14:
Subclass #15:
Subclass #16:
Subclass #17:
Subclass #18:
Subclass #19:
Subclass #20:
Subclass #21:
subclass #22:
Subclass #23:
Subclass #24:
Subclass #25:
Subclass #26:
Subclass #27:
Subclass #28:
Subclass #29:
Subclass #30:
Subclass #31:
Subclass #32:
Subclass #33:
Subclass #34:
Subclass #35:
Subclass #306:
Subclass #37:
Subclass #38:
Subclass #39:

84 Lumber Company, LP

Ace Home Center, Inc.

All County Drywall Services, Inc.

Bailey Lumber & Supply Co.

Bailey Lumber & Supply Company of Biloxi
Banner Supply Co.

Banner Supply Company Fort Myers, LLC
Banner Supply Company Pompano, LLC
Baron Construction Co.

Bayou Building Products, LLC

Black Bear Gypsum Supply, Inc.

Boyle Lumber Company

Bradford Lumber & Supply , Inc.

Brent Garrod Drywali, Inc.

Building Supply House, LLC

C&L Roofing and Remedeling

Cajun Construction & Design, Inc.

Capitol Materials, Incorporated

Delta Lumber Co. Building Supply

Devon Intermauiona! Group, Inc.

Everglades Lumber and Building Supphes, LLC
Garraway’s Stores, Inc.

Gator Gypsum, Inc.

Global Trading of Louisiana, LLC

Gulf Coast Drywall Buiiding Products, LLC
Gulf Coast Shelter, Inc.

Gulf Coast Supply, Inc.

Hartsville Lumber & Barns, Inc.

HLP/GAC International, Inc.

Holmes Building Materials, LLC

Home Depot USA, Inc.

Interior Exterior Buiidmg Supply, LP
Interior Exterior Enterprises, LLC

L&W Supply Corporation d/b/a Seacoast Supply Company
Lowe’s Home Centers, Inc.

Marvins Building Materials and Home Centers
Mazer’s Discount Home Centers, Inc.

North Pacific Group

Oakwood Mobile Homes, Inc.

Page 1 of 2
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Subclass #40:
Subclass #4 1:
Subclass #42:
Subclass #43:
Subclass #44:
Subclass #45:
Subclass #46:
Subclass #47:
Subclass #48:
Subclass #49;
Subclass #50:
Subclass #51:
Subclass #52:

Ocean Springs Lumber Company, LLC.
Pate Stevedore Company of Pensacola
PFS Corporation

Picayune Discount Building Supply

Port of Pensacola Users Association, inc.
R & H Masonry Contractors, Inc.
Rentrow Insulation & Supply

Renfrow Insulation I

Sheiter Products, Inc.

Smoky Mountain Materials, Inc.
Spetghts Cash & Carry

Stine Lumber, LLC

W.B. Howland Co., L.L.C,

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Gress, es al ¥ Knauf Gips AG, ef al.
Schedule “1"— List of Distributer/Supplier/importer/Exporter/Broker Subclasses to Mary Anne
Benes’ Substituted and Amended Omnibus Ciass Action Complaint (HID

Plaintiff Defendant Defendants’
Subclass #
Polk; Doina : : 84 Lumber Company, Lp ae 1:
Branning, William and Betty Ace Home Center, Inc. 3
Loader, J ennifer ne | All County Drywall Services, Inc. 8 : a oe 3 2
Eleuterius, Gregory and Batley Lumber & Supply Co. 4
Elizabeth
Toles, Purvis and Patricia Bailey Lumber & Supply Co. 4
Galle, Joey & Amanda cS Bailey Lumber & Supply Company of Biloxi es 5.
Galle. Joseph & Debbie ~~ | Bailey Lumber & Supply Company of Biloxi |S
Steuben, John. & Grace | Bailey Eumber & Supply'Company of Biloxi: | 5
Anderton, Gloria & George Banner Supply Co. 6
Candiani, Karen & Donald Banner Supply Co. 6
Carciato, Lisa Banner Supply Co, 6
Cardiello, Frank and Gayle Banner Supply Co. 6
Carter, Daniel and My-duyen Banner Supply Co. 6
Carter, Daniel and My-duyen Banner Supply Co. 6
Casey, William and Pamela Banner Supply Co. 6
Dekeyser, Phyllis and Lee Banner Supply Co. 6
Ewald, Thomas and Chnistina Banner Supply Co, 6
Giannin, Dommic Banner Supply Co. 6
Gill, Ted and Pamela Banner Supply Co. 6
Hattemer, Jennifer Banner Supply Co. 6
Kepler, LLC Banner Supply Co. 6
Lopez, Rebekah Banner Supply Co. 6

Page 1 of 12

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Gross, etal. v. Kuanf Gips AG, et al.
Schedule “1°— List of Distributor/Supplier/Importer/Exporter/Broker Subclasses to Mary Anme

Benes’ Substituted and Amended Omnibus Class Action Complaint GID

Plates tet Defendant Defendants’
Subclass #
Malhoe, Ashok Banner Supply Co. 6
Mastrogiacomo, Kim Banner Supply Co. &
Meister, David and Diane Banner Supply Co, 6
Nemes, Robert and Frances Banner Supply Co. 6
Nuce1o, Thomas and Darlene Banner Supply Co. G
Page, Michael and Rikke Banner Supply Co. 6
Patlerson, Kellie Banner Supply Co. é
Pietrantonio, Tamie Banner Supply Co. &
Reaves, Eugene W. IV Banner Supply Co. 6
Ruiiey, Estela Banner Supply Co. 6
Roth, Stephen Banner Supply Co. 6
Santiago, Angel and Yvette Banner Supply Co. 6
Sheehan, Michael Banner Supply Co. 6
Valdez, Jore & Juana Banner Supply Co. &
Veras, Ingrid Banner Supply Co. 6
Wilson, Darrell and Darlene Banner Supply Ca. 6
Dekeyser, Phyllis and Lee = ee —
Ewald, Thomas and Christina
Mastrogiacomo, Kim
McLennan ad Shen
Moister, David and Diane

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Gress, et al. vy. Knauf Gips 7G, et al.

Schedule “1"— List of Distributor/Sapplier/Importer/Exporter/Broker Subclasses to Mary Anne

Benes’ Substituted and Amended Omnibus Ciass Action Complaint (11D)

Plaintiff

Defendant

Defendants’
Subclass #

Nemes, Robert and Frances.”

os Banner. Supply Company Fort Myers, LLG bs 2 :

Pietrantonio, Tamie

: ‘ Banner Supply Company Fort Myers. LLC. ed. mS

Roth, Stephen mae

- | Banner Supply Company Fort Myers, LEC. 2 fo

Wites, Mare and Jennifer

Banner Supply Company Pompano, LLC

Cruchfield, James & Louella -

| Baron Cc onstruction Co. ee aoe i

Alexander, Henry and Penny

Bayou Building Products, LLC

Lamarque, Carroll, Jr.

Bayou Burlding Products, LLC

Durrance, Barry and Denise...

2 Black Bear Gypsum Supply, Inc. < a Be cial game

McKenzie, Martha

Boyle Lumber Company

Everard, Bllion =

Domingue, Ci

Rus, Shey

‘Steele, Wanda F.

) Brad ford Tumb: & Supp iy In

‘Vu, Jessie and Mai, Krist

| Breators

Lumber & Supply.Inc.

Nelms, Jr.. William

Brent Garrod Drywall, Inc.

Antoun, Ivano .

Building Supply Woe eee

Scallan, Patricia E. and Ronald

Page 3 of 12

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Grass, ef al. v. Enauf Gips AG, et al.
Schedule “1° List of Distributor/Supplier/Importer/Experter/Broker Subclasses to Mary Anne
Benes’ Substituted and Amended Omnibus Class Action Complaint (IID)

ABN—Bocument 2187-4 Firetes7zerro— Page 2f or 66

Plaintiff

Defendant

Defendants’
Subclass #

Stout, Michael and Kristina: ° :

Building Sapply House, LC

Triche, Susan and Glenn

| Building Supply House, LLC

Samples, Deneen

C&L Roofing and Remodeling

16

Serio, Joseph |

| Cajun Construction & Design, Inc. * :

Dillard, Ronnie and Linda

Capitol Materials, Incorporated

18

Newell, Michael & Faris .

Ledford, Samuel

Devon International Group, Inc.

20

Grueninger, Susan

__ | Byerglades Lumiber and Building Supplies, LLC |.

Herring, Homer

Garraway’s Stores, Inc.

22

Lee Kevin 2) ee

ee Gator Gypsum, Inc.

Mowers, Evelyn B. and Matthew
R.

Global Trading of Louisiana, LLC

Davis, Vernon,

| Gulf Coast Drywall Building Products;ELC © | 5

Butler, Bernice

Gulf Coast Sheiter, Inc.

Gainey, Billy C, and Kathryn

Gulf Coast Sheiter, Inc.

Howell, Victor and
Loumertistene

Gulf Coast Shelter, Inc.

Mingto, James & Patricia.

Gainey, Billy C. and Kathryn

Hartsville Lumber & Barns, Inc.

Serio, J oseph - : = as SO

Martin, Robert and Denise

Holmes Building Materials, LLC

Cager, Mitchell & Patricia Al Home Depot

Carter, ‘Alice ee

Page 4 of 12
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Schedube “1°— List of Distributor/Supplier/Importer/Exporter/Broker Subclasses to Mary Anne
Benes” Substituted and Amended Omnibus Class Action Complaint (11}}

qT Aye oo VUIVY

Platmtiif

Defendant

Defendants’
Subciass #

England. -Charles

T Home Depot USa, Inc.

Green, Mary Nell

Home Depot USA, Ine:

Howell, Patticia

|Home Depot USA, Inc.

Loader, Jennifer.

o oo Home Depot USA, Inc. PS eek a

Mack, Thomas Ir. oh

Motte Depot USA tie

Malone, Monica

[Home Depot USA, ine

Maitin, David & Betty: . / ot

: ‘Home Depot USAJInc.

McCrory,:Osizy & Margie Sees a :

Home Depot USA,Inc.

McTigue, Bobby & Celia A

| Home Depot USA, Ine.

Mitchell, Virgil & Rosetta wee

Owens, Brenda 2

ome Depot USA, Tne

Polk, Doma’

Rogers, Gretta

Simmons, Melinda and Andre

Home Depot USA,

Stewail,: George & Deborah

‘Home Depot. USA, Inc

Taylor, Robert & Sanda |

iome Depot USA,

Thiroux, Freddie & Glenda -

Home.

Vessel, Charles and Diane =

| Home Depat USA, Inc,

| Homie Depot USA, I

Walley, Curtis & Monsue. | Home Depot USA, Ines

Alonzo, Lana

Interior Exterior Building Supply, LP

Anderson, Shawnree and John

Interior Exterior Building Supply, LP

Page 5 of 12
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Schedule 1° List ef Distribwtor/Suppli ier fimporter/Exporter/Broker Subclasses to Mary Anne
Benes’ Substituted and Amended Ormmibus Class Action Complaint (Ii)
Plain aft Defendant Defendants'
Subclass #
Back, Charles and Mary Interior Exterior Building Supply, LP 33
Barlow, Regine and John Interior Exterior Building Supply, LP 37
Blaiock, Angeles Interior Exterior Building Supply, LP 33
Blue. John and Rachelle Interior Exterior Buiiding Supply, LP 42
Borne, Barry and Mary Interior Exterior Building Supply, LP 33
Boutte, Don and Michael Interior Exterior Buuding Supply, LP 39
Robinson
Braseiman, Holly Interior Exterior Building Supply, LP 33
Callais, Gary & Michelle Interior Exterior Building Supply, LP 33
Cheramie, Bertoule and Joan Interior Exterior Building Supply, LP 43
Donaldson, Jal! and Oerthing, Interior Exterior Building Supply, LP 3?
Jared
Fineschi. Nicola and Conme Interior Exierior Building Supply, LP 32
Gross, Cheryl and David Interior Exterior Building Supply, LP 42
Jones, Allie and Jeanie Interior Exterior Building Supply, LP 32
Kehoe, Molly Interior Exterior Building Supply, LP 332
Mayo, Edward and Jacqueline Intertor Exterior Building Supply, LP 37
Morlas, Ralph Interior Exterior Building Supply, LP 3?
Niswonger, Mary M. Interior Exterior Building Supply, LP 32
Reynolds, Karen Interior Exterior Building Supply, LP 3?
Ryckman, Rickey Interior Exterior Building Supply, LP 37
Staub, Dana and Marcus Interior Exterior Building Supply, LP 32
Sione, Thomas and Lauren Interior Exterior Building Supply, LP 32
Theard, Avery & Tjaynell Interior Exterior Bunlding Supply, LP 32

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Cross, ci al. v. Knauf Gips KG, et at.
Schedule °° List of Distributor/Supplier/lmporter/Exporter/broker Subciasses to Mary Anme

Benes’ Substituted and Amended Omnibus Class Action Complaint (1)

Platmtift

Defendant

Defendants’
Subclass #

Velez. Louis

Interior Exterior Bunlding Supply, LP

32

Wilfer, Rosanne

Interior Exterior Building Supply, LP

32

Wisclier, Robert

Interior Exterior Building Supply, LP

32

Alonzo, Lana

'| Interior Exterior Enterprises; LLC

Anderson, Shawnree and John .

: Interior Exterior Enterprises, LLC. Be a we . oe 2 33 = oe

Back, Charles and Mary he

| Interior Exterior Enterprises, LLC a oo

Barlow, Regine and} ohn

| Interior Exterior Enterprises, ILC

Blalock, Angeles. «=| Interior Exterior Enterprises, LEC) |S

Blue, John ‘andRachélle

“Interior Exterior Enterprises, LLC

Bome, Bary and Mary 2

Boutte, Don and. Mic hael -
Robinson -

Braselman; Holly o

Callais, Gary & Michelle:

Cheramie, Be rtoul ¢ ‘and J 0a

Fineschi, Nicola and Connie

Gross, Cheryl and David: o 4 koe ‘Interior

Jones ote Ho

| Interior Exterior Enterprises, LL

Mayo, Edward and Shee = :

Mot las, Ralph -

| Interior Exterior Enterprise

Niswonger, Mary M.

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Gross, et ai. v. Knauf Gips KG, ef al.
Schedule “1"—~ List of Distributer/Supplier/Importer/Exporter/Broker Subclasses to Mary Amne

Benes’ Substituted and Amended Omnibus Class Action Complaint (ID)

Plaintiff Defendant Defendants'
Subclass #
Reynolds, Karen Interior Exterior Enterprises. LLC See ae 33. Le
Ryckman, Rickey . : Interior Exterioz Enterprises, LLC oe : 33 - “
Staub, Dana and Marcus Interior Exterior Enterprises, LLC . 33 Lone :
Stone, Thomas and Lauren oe | Interior Exterior Enterprises LLC yo ae oa : 33 < ae

Theard, Avery & Teynetl fos

Le Interior Exterior: Bnterprises, LLC eater eS

Velez, Louis”

Interior Eeinioy Edlempises LLG . - coe PE Pa

Wi Ifer, Rosanne oS

ee Interior Exterior Enterprises LLC a

Company

W ischler, Robert’ : Interior Exterior Enterprises, Le eee

Campell, Thomas and Kelli L&W Supply Corporation d/b/a Seacoast Supply 34
Conipany

Casburn, Richard and Judy L&W Supply Corporation d/b/a Seacoast Supply 34
Company

Foster, Gregg L&W Supply Corporation d/b/a Seacoast Supply 34
Company

Grover, Adam and Keely L&W Supply Corporation d/b/a Seacoast Supply 44
Company

Hummer, Charles L&W Supply Corporation d/b/a Seacoast Supply 34
Company

Licon, Eddie L&W Supply Corporation d/b/a Seacoast Supply 34
Company

Mendez, Jose and Sonia L&W Supply Corporation d/b/a Seacoast Supply 34
Company

Pave, Michael and Rikke L&W Supply Corporation d/b/a Seacoast Supply 34
Company

Thompson, Edith L&W Supply Corporation d/b/a Seacoast Supply 34
Company

Wallace, Alonza L&W Supply Corporation d/b/a Seacoast Supply 34

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Gross, ef al. v. Knauf Gips KG, et al.
Schedule “1"— List of Distributer/Supplier/lmporter/Exporter/Broker Subclasses to Mary Anne
Benes’ Substituted and Amended Ommibus Class Action Complaint (111)

Plaintiff Defendant Defendants’
Subciass #

Webster. James & Rosalie L&W Supply Corporation d/b/a Seacoast Supply 34
Company

Abels, Shirley “| Lowe’s Home Centers, Ine. Oe BS ot Meme so 35. Bes

Alfred, Janice’ ity ~~ | Lowe's Home Centers, Inc. ne ee od - 35°: wae

Avant, Catherine . oy me, - Lowe's Home Centers, Tne. : : a ae ess yee se a ey) 35

Bennett, Larry... | Lowe’s Home Centers, Inc).

Brand, MariynD. | Lowe's Home Centers, Ino,

Carter, Alice“ | Lowe’s Home Centers, Inc.

Carter, AntioneC.. | Lowe’s Home CentersyInc,

Clarke, Wayne.

Coleman, Charles”

Dixon, Perry be Deborah

Engel, J efferey and Ella ‘

Foreston, Anthony & Sherrie

Galloway. Geraldine

Green, Mary Nell es

Green, Patricia Stevens

Guidry, Sheila 4 : : :

Haris Emily # Grea

Hester, Raymond.

Jackson, Irene:

King, Jeftrey & Laur

Leverette,Gilletto & Donna

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Gross, ef al. v. Knauf Gips KG, et al.

Schedule “1"- List of Distributor/Supplier/Importer/Exporter/Groker Subclasses to Mary Anne

Benes’ Substituted and Amended Ommibus Class Action Complaint (IL)

=

Pisin tiff

frefendant

Defendants’

Subclass #

Malone, Montca

Lowe's Home Centers, Ine:

33.

Maranoci, Terri”
Lee,Terri <2) -

Lowe’s. Home Centers, Inc.

Martin, David & Betty.

| Lowe's Home Centers, Inc, oe eg ink

5 :

Mitchell, Virgil & Rosetta —

-|-Lowe’s Home-Centers, Ine.

Odoms-Lewis, J anretta Cc aie ie

Lowe's Home Centers, Inc. -

Ratliff, Krondenser Means . oa

Lowe’s HomeCenters, Inc.

Riley, Willie James ©

~ | Lowe’s:Home'Centers, Ine.

Rogers, Gretta - .

“Lowe’s Home:Centérs, Ine. 8

Scott, Pearl os

uk Lowe's Home Centers, Inc: Les a

Sherrod, V. aletie a

ae Lowe’ . Home Centers

ANC.

Simmons, Penny.

~ | Lowe's Home Center

Sylvester. Jessie

| Lowe's Home Centers, Inc.

Taylor, Robert & Sandra. o S *

Thirows, Freddie.& Glenda

‘Lowe’ s Home Centers In

Walley, Curtis & Monsue

‘Lowe's Home Centers, In

Washington, Eugene & Yvonne. : :

Webster, Samuel L. ee

| Lowe’s Home Centers; Ine...”

Wiley, William & Joan

“| Lowe's Home Centers, Ine.

Delk, Smith

Marvins Building Materials and Home Centers 36

Headley, Danny and Cathy es : Mazer’s Discount Homie Centers, Inc. oe

Ledford. Samuel >

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Schedule “1”~ List of Distributor/Supplier/Importer/Exporter/Broker Subclasses to Mary Aume
Benes’ Substituted and Amended Omnibus Class Action Complaint (IL)

Plaintiff

Defendant

Defendants'

Macon, Jeremy

~|-Mazer’s Discount:Home. Centers, Inc.

Subelass #
37

‘Owens, Brenda:

- Mazer’s Discount Home Centers, Inc.

“37

Thornton, Stanley and April a

Mazer’s Discount-Home Centers, Inc.

Fluharty, Carson & Charlene

North Pacific Group

38

Cunningham, Shirley

| Oakwood Mobile Homes, Inc. -

Galle, Joey & Amanda

Ocean Springs Lumber Company, L.L.C.

40

Galle, Joseph & Debbie

Ocean Springs Lumber Company, L.L.C.

40)

Martin, David & Beity

Ocean Springs Lumber Company, LLC

40

Hayes, J oseph and Selena 8 a Pate Stevedore Company of Pensacola oe aS : Aas

Montoya, Frank & Eva Ann

PFS Corporation

42

‘Adams, Eddie and Rose

Picayune Discount Building Supply

McKinley, Jacob .

| Picayune Discount Building Supply |

Hurley, Jonathan and April

Port of Pensacola Users Association, Inc.

Hot Mosile waar:

 H Masonry Contractors, Inc.

Hale, George

Renfrow Insulation & Supply

Hale, George

| Renfrow Insulation [

Butler, Bernice

Shelter Products, Inc.

Howell, Victor and
Loumertistene

Shelter Products, Inc.

Brewton, lk, LD.& Sonia.

| Smoky Mountain Materials, Ine.

Salter, Kenneth & Cindy

‘Smoky Mountain Materials Ing |

Herring, Homer

Speights Cash & Carry

Vessel. Charles and Diane, G

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Schedwie “1 °~ List of Distributor/Supplier/Importer/Exporter/Broker Subclasses to Mary Amue
Benes’ Substituted and Amended Omnibus Class Action Complaint II}

Phaintilf Defendant Defendamts'
Subclass #
Mattox, Dread W.B. Howland Co., L.L.C. >

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Schedule "2"—Builder/Developer List of Subclasses to

Wary Anne Benes’ Substituted and Amended Ommibus Class Action Complaint (iil)

Subclass #53:
Subclass #54:
Subclass #55:
Subclass #56:
Subclass #57:
Subclass #58:
Subclass #59:
Subclass #60:

Subclass #6:
Subclass #62:
Subclass #63:
Subclass #64:
Subclass #65:
Subclass 466:
Subclass #67:
Subclass #68:
Subclass #69:
Subclass #70:
Subclass #71:
Subclass #72:
Subclass #73:
Subciass #74:
Subclass #75:
Subclass #76:
Subclass #77:
Subclass #78:
Subclass #79:
Subclass #80:
Subclass #81:
Subclass #82:
Subclass #83:
Subclass #84:
Subclass #85:
Subclass #86:
Subclass #87:
Subclass #88:
Subclass #89:
Subclass #90:

A&C Development, LLC

Aarco, LLC

Aburton Homes, Inc.

Adam Homes Realty, Inc.

Adams Homes of Northwest Florida, Inc.
Adams Homes Realty, Inc.

Adrian Kornman

Advantage Builders of America, Inc. a/k/a Advantage Builders of SWEL,
Inc.

Albanese-Popkin The Oaks Development Group, L.P.
Albert Howard, Jr.

American Gallery Development Group, LLC
Amerisouth, Inc.

Andre Rodgers, Carpenter

Ange! Developments, LLC

Aranda Homes, Inc.

Atchafalaya Homes

Aubuchon Homes, Inc.

Avalon Building Corporation of Tampa Bay
Avalon Preserve Developers, L.L.C.

Banner Homes of Florida, Inc.

Bass Homies, Inc.

Bay Colony-Gateway, Inc.

Baywood Construction, Inc.

BBL - Florida, LLC

Beazer Homes Corp.

Belfor USA Group, Inc.

Bell Construction

BJ&K Construction, Inc.

Blanchard Homes, Inc.

Brothers Properties, LA, LLC

Buras Construction LLC,

C&N Construction Co. LLC

Carter Custom Homes, Inc,

CB Dupree Construction, LLC

Centerline Homes at Tradition, LLC
Centerline Homes Construction, Inc.
Centerline Homes, Inc.

Centerra Homes, ILLC

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Subclass #91:
Subclass #92:
Subclass #93:
Subclass #94:
Subclass #95:
Subclass #96:
subclass #97:
Subclass #98:
Subciass #99:

Subclass #100:
Subclass #101:
Subclass #102:
Subclass #103:
Subclass #104:
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Subclass #118:
Subclass #119:
Subclass #120:
Subclass #121:
Subclass #122:
Subclass #123:
Subclass #124:
Subclass #125:
Subclass #126:
Subclass #127:
Subclass #128:
Subclass #129;
Subclass #130:
Subclass #131:
Subclass #132:
Subclass #133:

Chase Construction, Inc.

Chateau Bourbon, LLC

Chateau Development LLC

Cloutier Brothers, Inc.

Comfort Home Builders, Inc.

Completed Communities H, LLC

Conti Construction Company, Inc.

Core Construction, LLC

Cornerstone Builders, LLC

Curington Contracting, Inc.

Curtis Lee Wimberly General Contractor Incorporated
Custom Homes by Kaye, Inc.

Cypress Builders, Inc

D.R. Horton, Inc.

D.R. Horton, Texas, Ltd.

Daniel Dee Loughy Homes, Inc. d/b/a Tropical Homes
Dave Walker Construction, Inc.

David W. Stewart, Inc.

Diamond Court Construction Co.
Dupont Builders, Inc.

Dupree Construction Co, , LLC

E. Jacob Construction, Inc.

Eagle Builders, Inc.

Edwards Construction Company

Enc Bolden

Federal Construction Specialist, Inc.
First Choice Homes of S.W. Florida, Inc.
First Home Builders of Florida I, Inc.
First Home Builders, Inc.

Fleetwood Homes of Florida, Inc.
Fleetwood Homes of GA, Inc,

G & F Drywall

Gabourel’s Construction, L.L.C.

Gant & Shivers

Gatco Construction, Inc.

Grogan Construction and Real Estate, Inc.
Groza Builders, Inc.

Hanover Homes, Inc.

Hansen Homes of South Florida, Inc.
Heights Properties, L.L.C.

Heritage Homes, Inc.

Hilliard Butler Construction Company, Inc.
Holiday Builders, Inc,

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Subclass #134:
Subclass #135:
Subclass #136:
Subclass #137:
Subclass #138:
Subclass #139:
Subclass #140:
Subclass #141:
Subclass #142:
Subclass #143:
Subclass #144:
Subclass #145:
Subclass #146:
Subclass #147:
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Subclass #149:
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Subclass #161:
Subclass #162:
Subclass #163:
Subclass #164:
Subclass #165:
Subclass #166:
Subclass #167:
Subclass #168;
Subclass #1] 69:
Subclass #170:
Subclass #173:
Subclass #172:
Subclass #173:
Subclass #174:
Subclass #175:
Subclass #176:

Homes of Merit, Inc.

Horton Homes, Inc.
Hulsey-Nezlo Construction, LLC
Infimty Homes, Inc

Inman Construction Services, inc.
Ironwood Properties, Inc.

Jade Organization Genera! Contractor, LLC
James Kayser

Jim Korn Builders, LLC

Jim Walter Homes, Inc.

Jim Walter Homes, L.L.C.

John P. Gregg

Johnson & Johnson Home Repairs, L.L.C.
JP Renovations, Inc.

K. Hovnanian First Homes, LLC
K&B Homes, Inc.

Kave Homes, Inc.

KB Home Flonda, LLC

KB Home Jacksonville, LLC

KB Home Orlando, LLC

KB Home/Shaw Louisiana, L.L.C.
KB Home Tampa, LLC

KB Homes Fort Myers, LLC
KC2 Investments, LLC

Kenneth B, Speights Construction Co.
Kenwood Homes, Inc.

Kimball Hill Homes Florida, Inc.
L.A. Homes, Inc.

L’OQasis Builders Incorporated
L&J] Builders, Inc.

La Homes and Properties Inc.
Lakeridge Builders, Inc.

Laporte Family Properties, LLC
Lavish Holding Corp.

Lee Roy Jenkins Builder, Inc,
Legend Custom Builders, Inc.
Lennar Corporation

Lennar Homes, LLC

Leroy Laporte, Jr.

LPR Builders, Inc.

LTL Construction, Inc.

Lucas Construction Corporation
M/T Homes, Inc.

Page 3 of 6

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Subclass #177:
Subclass #176:
Subclass #179:
Subclass #180:
Subclass #184:
Subclass #182:
Subclass #183:
Subclass #184:
Subclass #7185:
Subclass #186:
Subclass #187:
Subclass #188:
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Subclass #192:
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Subclass #212:
Subclass #213:
Subclass #214:
Subclass #215:
Subclass #2106:
Subclass #217:
8:
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Subclass #2
Subclass #2

|
|

MacGlen Buntders, Inc.

Magnum Development, LLC
Majestic Homes of Port St. Lucte, Inc.
Maronda Homes, Inc. of Florida
Master Builders of South Florida, inc.
Mat D Construction

MeCar Homes-Tampa, LLC

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Meadows of Estero-Bonita Springs Ltd. P'ship d/b/a Shelby Homes

Medailion Homes Gulf Coast, Inc.
Medallion Homes, LLC

Mertiage Homes of Florida, Inc.

MGB Construction

Mike Jones Construction, Inc.

Miller Construction Company

Mitchell Homes. Inc.

Modern Construction Group, Inc.
Monzelle Diles

MW Johnson Construction of Florida, Inc.
Negotiable Remodeling

Oyster Bay Homes, Inc.

Palm isles Holdings, LLC

Paramount Quality Homes Corp.
Parkview Homes Realty, Inc.

Pan-Self, Inc.

Patter Construction Services

Pine Ridge Development, Inc.

Pine Ridge Real Estate Enterprises, L.L.C.
Pod Homes, LLC

Premiere Design Homes, Inc.

Pride Homes of Lakes by the Bay - Parcel H, LLC
Princeton Homes, Inc.

Pulte Home Corporation

Pyramid Construction Corporation
Residential Drywall, Inc.

Richard Jones Construction Company, Inc.
Rivercrest LLC/St. Joe & Company

RNB Construction

Rocky Ruckman

Ross Home Builders, Inc.

Russ Milis

Rylex Homes, Inc.

S. Petersen Homes, Inc.

S&D Specialists, Inc.

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Subclass #220:
Subclass #221:
Subclass #222:
Subclass #223:
Subclass #224;
Subclass #225:
Subclass #226:
Subclass #227:
Subclass #228:
Subclass #229:
subclass #230:
Subclass #231:
Subclass #232:
Subclass #233:
Subclass #234:
Subclass #235:
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Subclass #243:
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Subclass #245:
Subclass #246:
Subclass #247;
Subclass #258:
Subclass #249:
Subclass #250:
Subclass #251:
Subclass #252:
Subclass #253:
Subclass #254:
Subclass #255:
Subclass #256:
Subclass #257:
Subclass #238:
Subclass #259:
Subclass #260:
Subclass #261:
Subclass #262:

SC Builders, L.L.C.

Seaside Development, LLC

Sedgwick Developers, Inc.

Shelby Homes, Inc.

Shoma Homes, Inc.

Shoma Homes Splendid, Inc.

Signature Scrics Homes, Inc.

Smith Family Homes Corporation

South Kendall Construction Corp.

Southern Homes, LLC

Southern Homes of Broward X], Inc.

Southern Star Construction Company, Inc.
Springhill, LLC

Standard Pacific Homes of South Florida, GP, Inc.
Standard Pacific of Southwest Florida GP, Inc.
Statewide Associates, Inc.

Steve Harnngton Homes, Inc.

Steven R. Carter, Inc.

Stock Development, LLC

Suarez, Housing Corporation

Summit Homes, LLC n/k/a PHE Construction, LLC
Sun Construction, LLC

Sunrise Construction and Development, LLC
Sunrise Homes

Taylor Morrison, Inc.

Taylor Morrison Services, Inc.

The Haskell Company

The Jade Organization, Inc.

The Ryland Group, Inc.

Thomas R. Gould, Inc.

Thompson Wood Products, Inc.

Tillman Construction, Inc.

Timberline Builders, Inc.

Timberline Homes

Toll Estero Ltd. Partnership, d/b/a Toll Brothers
Treasure Coast Communities, Inc.

Trust America Homes, Inc.

United Home Builders, Inc.

United Homes, inc.

US Home Corporation, a Delaware Corporation
Vea! Enterprises, Inc.

Venture Homes

Venus Street, LLC

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Subclass #263:
Subclass #264:
Subclass #263:
Subclass #266:
Subclass #267:
Subclass #268:
Subclass #269.

Waterways Joint Venture IV

Waterways Joint Venture TV, LLC

WB Construction Company, Inc.

Wellington Shores-Wellington Limited Partnership
Westerheim Properties, Inc.

William P. Joseph Jr. Construction, Inc.

Woodland Enierprises, Inc,

Page 6 of 6

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Schedule “2"— List of Builder/Developer Subclasses to Mary Anne Benes’

Substituted and Amended Omaibus Class Action Complaint (1D)

Plaintiff

Defendant

Defendants’
Subclass #

Kelso, Christopher

FA & C Development, LLC

Pritchett, Carla

Aarco, LLC

54

Englert, Thomas and Karen

_| Aburton Homes; Inc. 1 oe

85 ao

Murray, Robin and Marva

Sy “Aburton Homes, Inc. mae CE

Schamber, John

Adam Homes ® Realty Inc,

56

Hummer, Charles : :

‘Mendez, Joseand Sonia.

Thompson

Von dem Bach, Christine «

Jones, Rosetta & Lucious

LLLC.

Slidell Property Managemen ae “Adrian k

Kelly, Christopher & Jesica

Advantage Builders of America, Inc. a/k/a
Advantage Builders of SWFL, Inc.

66

Mercedes, Wilbam and Carmen

Advantage Builders of America, Inc. a/k/a
Advantage Builders of SWFL, Inc.

66

Montalvo, Samuel, Jr.

Advantage Builders of America, Inc. a/k/a
Advantage Builders of SWEL, Inc.

60

Penny, Andrew and Rachel

Advantage Builders of America, Inc. a/k/a
Advantage Builders of SWE L, Inc.

60

Golovkine, Sergei and Natalia:

ap Albanese- e-Popki h

Wites, Mare.and Jennifer.

Moore, Leon

Swartz, Sylvia and Chrisotpher

Amerisouth, Inc.

64

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Schedule “2"— [ist of Builder/Developer Subclasses to Mary Anne Benes!
Substituted and Amended Omnibus Class Action Complaint (111)

Plaimeiff Defendant Defendants’
Subclass #

Newell, Michael & Faris coe ee : Andre Rodgers, Carpenter oe ie oe " ee 65

Sakalauskas, Alberto and Laura Angel Developments, LLC 66

Appelman, Lou & Sara oT Aranda Homes, Inc. : : Sol ae ne “ ee 67 EE

Brennan, Arletie y : . Ors -Aranda Homes, Inc. : ay LA a ee oe 67 ao :

Burns, Robert . - Hee) ae Aranda Homes, Inc, an es oh

Cardiello, Frank and Gayle | Aranda Homes, Ine.

Carter, Daniel and Mt eduyen - ‘Aranda Homes, Inc. Page

Carter, Daniel and My-duyen. : “Aranda Homes, Inc. oh Ue — Sp ES

Engasser, Paul and Patricia.

Francipane, Susan..

Gaines, Timo thy & Iulie a

Giannini, Dominic

Hlattemer, Tennifer’

Riley, Estela

Wilson, Darrell and Darlene

Maycux, Cory & Kristy Atchafalaya Homes

Rekhels, Alexander and Irina | Aubuchon Homes, Inc.

Durrance, Barry and Denise Avalon Building Corporation of Tampa Bay 70

Sellman, Jerry Avalon Building Corporation of Tampa Bay 70

Dickinson, William

Donnelly, Mary Rose anc

Gangl, Donald and

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Gross, et al. v. Knauf Gips KG, ef al.
Schedule “2” List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (11D

PEaintiff Defendant Defendants'
Subclass #

‘Garvey, Stephen and Karen. i Avalon Preserve Developers, L.L.C. ed. TS

Giannoussidis, Nikolaos = “Avalon Preserve Developers, L.L.C. oS ee pgs oo lee

Lumar, Semyon and Darina =| Avalon’Preserve Developers: LLL.C. 9] JP

Mancini, Richard’ =~. oe . c|. Avalon Preserve Developers, LLC. ee S eb es oa

Maniscalco, Frank and Grace ea ‘Avalon Preserve Developers, L.L.C. . : oy ee

Martin, Victor and Geraldine ——-_| Avalon Preserve Developers, L.L.C.

Smith, Glotia and Roberr ~~ Avalon Preserve Developers, L

Teitelbaum, Donna and onal of Avalon Preserve Developers, L:L:

Wilson, Diane and Richard. | Avalon Preserve Developers, LLC.

Spencer, Edna Banner Homes of Florida, Inc. 7?

Branhing, Wiliam and Betty | Bass Homes,lne.

Kostelecky, Joseph and-Charlotte ed B ass Homes, Inc.

Martel, Jean & Carmelle Bay Colonie ay, Inc. 74

Andersen, Mich ial 5
‘Campos, Karla

Faj ardo, Wilson ©
Gonzalez, Esther :

Lester; John and ius
Schiller, Larry 0

Malhoe, Ashok

Santiago, Angel and Yvette. os ‘Baywood Construction, Inc. ne

Borges, Virgilo and Janaina BBL - Flonda, LLC 76

Ondrovic, Joseph BBL - Florida, LLC

Carciato, Lisa. | Beazer Homes Corp.

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Schedule “*2°~ List of Builder/Dev sloper Subclasses fo | Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (LL)

Plaintiff

Defendant

Defendants'

Subclass #

Gill, Ted and Pamela: Ps = :

| Beazer Homes Corp...

~ | Beazer Homes Corp, 8 ep

Kapalin, Daniel & Danielle. Toe

Mortis, Robert

- vos Beazer Homes Corp. -

Swan, Christina & Marwick,
Michael . wo he

=| Beazer Homes Corp

Robohm, Donald and Natalie

Belfor USA Group, Inc.

78

Vessel, Charles and Diane

Bell Construction Pte wees a Sarah

Lauderdale One Condo Association,

Inc.

BJ&K Construction, Inc.

80

Browne. James and Jill Be

Ae ‘Blanchard Homes, Inc. oa goee

Moritz, Christy

Brothers Properties, LA, LLC

82

Jones, Alli¢ and Jeanie 2 9

Simmons, Sandra and James

C & N Construction Co. LLC

84

Phare, Kelly and Christopher

Carter Custom Homes, Ine.

Bradley, Jimmy & Louise

CB Dupree Construction, LLC

86

Gaita, Gina (Promenade)

Godwin, Franklin & Ve ni
(Promenade) -

Hueston “Deborah A. (Promenade

Centerline Homes at

Labell, barn (PROMENADE

Promenade at Tradition 6 nu
Association, Inc. .

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Gross, etal. v. Knauf Gips AG, et al.

Schedule “2"— List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint GUID

Plaintiff

Defendant

Defendants'
Subclass #

Real Property Resolutions Group,

LLC

[cenerinetiomesa ration tic

Reiprecht, Raymond oe

“ | Centerline Homes at Tradition, LLC ee

Toler, Calvin and Allison,

| Centerline Homes at Tradition, LLC.

87

Gaita, Gina (Promenade)

Centerline Homes Construction, Inc.

88

Godwin, Franklin & Veronica
(Promenade)

Centerline Homes Construction, Inc.

88

Hueston, Deborah A. (Promenade)

Centerline Homes Construction, Inc.

88

Labell, Barry (PROMENADE)

Centerline Homes Construction, Inc.

88

Promenade at Tradition Community
Association, Inc.

Centerline Homes Construction, Inc.

8&8

Real Property Resolutions Group,
LLC

Centerline Homes Construction, Inc.

88

Franklin, Michael and Aimee =

enterline. Homies, Ine. =

Martinez, Amold Sr.

Centerra Homes, LLC

90

Mitchell, Robert and Bontie |

Chase Construction; Ine,

Glasper, Gregg and Beunker

Chateau Bourbon, LLC

Pray, Jeffrey and Lana. |

Gini icone LS

Brown, Alganan and Regina

Cloutier Brothers, Inc.

Harter, Hany and Olga

Una Oe

Gaila, Gina (Promenade)

Completed Communities I, LLC

Godwin, Franklin & Veronica
(Promenade)

Completed Communities fH, LLC

Hueston, Deborah A. (Promenade)

Completed Communities Hl, LLC

96

Labell, Barry (PROMENADE AND
IN FIRST COMPLAINT)

Completed Communities H, LLC

96

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Gress, et al. v. Kuauf Gips KG, e¢ al.
Schedule “2"— List of Builder/Developer Subclasses to Mary Anne Benes’

Substituted and Amended Omnibus Class Action Complaint (1)

Phaintitf Defendant Defendants’
Subclass #

Promenade at Tradition Community | Completed Communities I, LLC G6

Association, Inc,

Real Property Resolutions Group, Completed Communities H, LLC OG

LLe

Gillman, James c/o Houck, Carolyn — Conti Construction Company, Ine.’ 5 oy Pe OT -

Corvala, Steve Core Construction, LLC OR
DeGlopper, Jenn Core Construction, LLC. O8
LABO, LLC. Core Construction, LLC. 8
c/o Peter Lampheele

Morton, Robert Core Construction, LLC. 98
Oyer, Steve & Angela Core Construction, LLC. 98
Peace Harbor Condo Association Core Construction, LLC. Og
Peace Harbor Condo Association Core Construction, LLC. G8
Whittington, Richard Core Construction, LLC. O8

Anoyo, Terrell and-Lionel

Farley, Nancy A.

‘White, Rich: dand Li Linda EES Teas. i e Wimberly General Contrae

Maysonet, Erika Custom Homes by Kaye. Inc. 102

D’Anna, Gaetano ae TEE a ‘Cypress. Builders Tne

Stephens, Urseleen D. R. Horton, inc.

Trent, Wilson & Terry . eS D. R. Hoxton, Texas, Ltd

Vanasdaie, Connie and Dennis Daniel Da Loughy Homes, Inc. d/b/a 106
Tropical Homes

‘Dave V Walker Construc ti 5 nL c.

Howard, Monikas

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Schedule “2° List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (HM)

Plaimaff

Defendant

Defendants'
Subclass #

Donaldson, Jill and Oertling, Jared

David W. Stewart, Inc.

168

Williams; Andrew, woes

whe Diamond Court Construction Co. oe

109 ©

Estimend, James and Jordany

Dupont Builders, Inc.

110

‘Bradley, Jimmy -& Louise ae

| Dupree Construction'Co. LLCS : eS fee

Boutte, Don and Michae! Robinson

E. Jacob Construction. Inc.

Chauppetta, Larry and Mich elle -

ov Eagle Builders, Inc. = eC Pees : a

Gainey, Billy C. and Kathryn

Joyce Belue Ham

Edwards Construction Company

Gomez, Augustus P.
& Amice Poy ee,

Comick, Ronnie

Federal Construction Specialist, Inc.

Scoceo, Bart

- | First Choice Homes of SW. Florida. Inc.”

Santiago, Jose and Yasuany

First Home Builder of Florida 1, Inc.

Martin, Richard & Judith”

Grunsted, Tamarra

Fleetwood Homes of Florida, Inc.

Benson, Steven and Rhonda : : meds Fleetwood Homes of GA,

Dakin, kim

G & F Drywall

Hall. Nathaniel and Darlene : . . ae ‘Gabourel’ s Construction, L.L. C, : os

Moore, Wilham & Earlene

Gant & Shivers

Gatco Construction, Inc.”

Willams, Houston

Grogan Construction and Real Estate, Inc.

Savoury. Hugh and Lorine | Groza Builders, Ine

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Gross, et al. vy. Knauf Gips KG, et at.

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Schedule “2°— List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (111)

Plaintiff

Defendant

Hiefendants'
Subclass #

Downing, Kenneth & Maria

Hanover Homes, Inc.

128

Garcia, Nero, Hedy M.
Mazzarri, Clara

Hanover Homes, Inc.

E28

Huszar, Steve

Hanover Homes, Inc.

128

Lehmann, Horst

Hanover Homes, Inc.

128

McKinney, Ahi and Ika

Hanover Homes, Inc.

Caple, Janelle 9

| Hansen Homes of South FloridayIne, |

Criceo, Carl and Kimberly |

Distel, Matthew & Stephaine | _Hanse

‘Pugazy, Lenni and Justin 0

Kebl, Hans Joachim

‘Lowande, Paul and Renee

Vancio, Rober aid Kar

Vollmar, Frank & Blizabeth

Sheehan, Michael

Brewion th ADA Soi [I

Weekley, Willam & Chaslowe | Heritage Homes, ne

Mayo, Edward and Jacqueline

Hilliard Butler Construction Company, Inc.

432

Mas, Rachel & Bonilla, Fred

"|| Holiday Builders,

, Inc.

Nutting. Julie

"| Holiday Builders, Inc

Cribb, Rose

Homes of Merit, Inc.

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Schedule “2"- List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (IUD

L

Plaintiff

Defendant

Defendants‘
Subclass #

Lee, Dorothy oe

o Horton Homes, Inc. ve

Meyer, Harry E. Jr.

| Horton Homes, Inc.

BS

Lopez, Valerie

Hulsey-Nezlo Construction, LLC

136

Bell, Thomas E.

Hulsey-Nezlo Construction, LLC

136

Duckett, Larry Heath

Hulsey-Nezlo Construction, LLC

136

Burk, Johns & Monica 0 |

Infinity Homes,.Inc” |. Be ee

Serio, Joseph

Inman Construction Services, Inc.

138

Nilsson, Jan Enkk & Anette.)

Jackson, Michael

Jade Organization General Contractor, LLC

140

Eleuterius, Gregory and Elizabeth

Jim Korn Butiders, LLC

Telford, Samuel

Hatcher, Sherri

Jim Walter Homes, L.L.C.

Galmiche, Stephen & Tiffany

Alexander, Henry and Penny

Johnson & Johnson Home Repairs, L.L.C.

146

Chalmers, Ryan and. hulie ae He

Adcock, Michael and Bnidgitte

kK. Hovnanian First Homes, LLC

Gomez, Ricardo and Maria

K. Hovnanian First Homes, LLC

Redway, Robert | K&B Homes, Ine.

Casburn, Richard and Iudy

Kaye Homes, Inc.

Gutierezz, Liset

Kaye Homes, inc,

Orgamista, Maria

Kaye Homes, Inc.

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Gross, et al. » Knauf Gips KG, et al.
Schedule “2° List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint GHD)

Defendants‘
Subelass #

Piaintiy Defendant

Pequigney, Sean and Candace

Kaye Homes, inc.

15¢

Beale, Charles.

| KBHome Florida,LLC

Jablonski, Robert and Colleen & - KB Home Florida, LLC oe

151

Martillo, Joseph Oe

McKinnon, Joseph/Christina S : cos KB Home EF lorida, TLC Se

epg

Ward, Theotis

KB Home Jacksonville, LLC

Guillette, Melissa .

"| KBHome Orlando, LIC

Meyer, Kirk and Lori

KB Home/Shaw Louisiana, L.L.C.

Benzo, Ramon and Candida : é & : : KB H ome Tampa, LLC 5

Brito, Nelson.

KB Home Tampa: LL

Timothy Hesbeens | S , a ae

“o) eB Home Tampa, LLC

DiSapio, Tonya & Carmine

KB Homes Fort Myers, LLC

Cohen, Ariel = = | RC? Hnwestments, LLC

Sylvester, Jessie

Kenneth B. Speights Construction Co.

Smith, Richard

“| Kenwood Homes, Inc

Jensen, Andrea

Kimball Hill Homes Fiorida, Inc.

Feltner, Donna

Kimbal! Hill Homes Florida, Ine.

Donmeyer, Scott D.and Kristin, [LA Homes,Inc

Reinoso, Manuel and Jessica

L’ Oasis Builders Incorporated

Marion, James’ | LD BullderssTne

Desselle, Brent

La Homes and Properties Inc.

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Schedule “2"— List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnuibus Class Action Complaint GID}

Plainalt

Befendant

Pefendants'
Subelass #

McKuinnies, Kionne and Terral

La Homes and Properties Inc.

164

Robinson, Jerome and Elien

La Homes and Properties Inc.

164

Tatum, Martin and Dons

La Homes and Properties Inc.

164

Young, Melissa

La Homes and Properties Inc.

164

Galvan, Eric»
Marsh; Lavenda

| Lakeridge Builders; Ine.

Borne, Barry and Mary

Laporte Family Properties, LLC

166

Braselman, Holly

Laporte Family Properties, LLC

166

Fineschi, Nicola and Connie

Laporte Family Properties, LLC

166

Kehoe, Molly

Laporte Family Properties, LLC

166

Wilfer, Rosanne

Laporte Farnily Properties, LLC

166

Back, Charles and Mary

Laporte Family Properties, LLC

166

Staub, Dana and Marcus

166

Amard, Kenneth =

Laporte Family Properties, LLC

Batsch, Kevin

Benes, Mary Anne. a

Ferroni, Peter: & Christi an.

Fohnson, Aisha & Geoffrey

‘Tinney , Marj orie, :

Worthington, George & Adria

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Gross, ef al. ». Knauf Gips KG, et at.

Schedule “2° List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (i)

Plaintit

Defendant

Defendants'
Subciass #

Hickey, Raymond and Elizabeth

Lee Roy Jenkins Builder, inc.

168

Whealan, John and Robin. .

sal Tegénd Custom Builders, Inc. AE en

Douglas, Aprile L.

Lennar Corporation

Gimpel, Nicholas & Cathy O’Brien

Lennar Corporation

Love, Nakisha

Lennar Corporation

Page, Michael and Rikke

Lennar Corporation

Vaiden, Janet

Lennar Corporation

(Greenwald, James and Debra

Blanco, Roberto. 9.

Kallio, Gary & Jennifer.

Tibbetts; Daniel and Janet |

| Lennar Homes,-ELC.

Back, Charles and Mary

Leroy Laporte, Jr.

172

Bore, Barry and Mary

Leroy Laporte, Jr.

172

Braselman, Holly

Leroy Laporte, Jr.

172

Fineschi, Nicola and Connie

Leroy Laporte, Jr.

172

Kehoe, Molly

Leroy Laporte, Jr.

172

Wilfer, Rosanne

Leroy Laporte, Jr.

‘Lozano, Jorge and-Cristinia

a LPR Builders, The

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Schedule “2"— List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (I1}}

Phaimeify

Defendant

Defendants'
Subclass #

Evans, Donald and Barbara

LTL Construction, Inc.

174

Hoffman, Hannelore
Lengel, Donna

LTL Construction, Inc.

174

Lau, Donald

LTL Construction, Inc.

174

Nord, John

LTL Construction, Inc.

174

Seddon, Robert and Joan

LTL Construction, Inc.

174

Whitfield, Tydell Nealy.

- | Lueas Construction Corporation’. |

Reels, Tamara

M/I Homes, Inc.

Mattox, Dread

| MaeGlen Builders, Inc 7

Nelms, Jr., William

Magnum Development, LLC

Scott, James & Karen me 4 be S : : Majestic Homes of Po ti

Aguilar, Antonio and Jenny

Maronda Homes, Inc. of Florida

Ayanbadejo, Oladele

Evans, Ronald

Mat D Construction

Hartley, Charles and Janet |. MeCar Homes-Tampa,

Seldavini-Clapper, Brigid

Meadows of Estero-Bonita Springs Lid.

P'ship d/b/a Shelby Homes

Santiago, Mareos and : Carmen. : SS a / Medallion H omes Gulf Coast, Inc.

Francisco, Tom & Jane

Medallion Homes, LLC

Santiago, Cesar.”
Crespo, Eileen”.

| Meritage Homes of Hotide, Ino.

Webster, James & Rosalic

MGB Construction

Toles, Purvis and Patricia. ~~ | Mike Jones Constructi

Rogers, Leshe & Lucille

Miller Construction Company

190

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Schedule “2°— List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (LUI)

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WIWTY

Gross, ef at. vy. Kaauf Gips KG, ef al.

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Plaincif?

Defendant

Subclass #

Defendants'

Leslie, Daphne, oo ay b : -

= PS - Mitchell Homes, Ine... legs hat is

194 o ue

Bosse, David and Christina. =

Daniels, Lula TEP bag:

| Mitchell Homes, Tne

Harvey, Jr., Ronald & Brnady.

Hughes, Amanda : : oe

eS : Mitchell Home s, Ine. : a

Lussier, Lynne... 7

Posey, Susan

| Mitchell Homés, Inc

Risko, Mark & Beverly Ann. : ae 3

Mitchell Homes, Inc

Henry, Clifford and Crispina

Modern Construction Group, Inc.

| Monzelle Diles =

McEldowney, Larry

MW Johnson Construction of Florida, Inc.

Miller,JoAnn

Brumbaugh, Russell R. Jr. & Carol

Oyster Bay Homes, Inc.

Pelligra; Anna R. -

Delisser, John and Maryalyn

Paramount Quality Homes Corp.

Potter, Harold and Tricia

Parkview Homes Re:

Santacruz, Jose and Yvetlé | Parkview Homes Reaity. In

Maurice, Carmine and Emmanie

Parr-Self, Inc.

Wi Ikerson, Annié M. ah . : oe

Patter Construction Services.

Carney, Garnet and William

Pine Ridge Development, Inc.

Boucher, Gordon & Nancy. . : rf

|| Pine Ridge Real Estate |

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Schedule “2"- List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (14)

Plaintil?

Defendant

Subclass #

Defendants’

‘Cummins, Rolland & Charlene oe

Pine Ridge Real Estate Enterprisés,L.L:C. : be

203

Herbert, Brian |

| Pine Ridge Real Estate Enterprises, LLC. |

| Pine Ridge Real Estate Enterprises, L:L:C. cee

Katz, Barry & Rebecca wae oy

“| Pine Ridge Real Estate Enterprises, LLC. |

Kirby, Robert -

_| Pine Ridge Real Estate Enterprises, LLC

Mantuo, Jo Ellen e e .

| Pine Ridge Real Bstate Enterprises, LLC. |

Murphy, Ronald ee 4

Powell, Laura Ann & Lindeerth - . Pine Ridge Real Estate Enterprises, LLC.

White, JiM& Vincent’ =| Pine Ridge Real Estate Enterprises, LC. | 2003

Ruse, Lawrence and Rebecca

Pod Homes, LLC

Lang, Danielle Marie

| Premiere Design Homes, Inc. 3)

Fores, David
Vasquez, Monica

Pride Homes of Lakes by the Bay - Parcel H,
LLC

Helmick, Timothy & Maria

Pride Homes of Lakes by the Bay - Parcel H,
LLCO

McNealy, James & Fran

Pride Homes of Lakes by the Bay - Parcel H,
LLC

Miranda, Jose and Adela

Pride Homes of Lakes by the Bay - Parcel H,
LLC

Segnello, Jeffrey and Monica

| Princeton Homes; Ine.

Adams, Robert & Klein- Adams,

Marni

Pulte Home Corporation

Bloom, Amy

Pulte Home Corporation

DeCarlo, Ellen & Nelson, Jerald

Pulte Home Corporation

Greenberg, Benjanun

Pulte Home Corporation

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Schedule “2”- List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint {IET)

Plaintiff

Defendant

Defendants’

Moses, Brenda and. Bryant Moses 8

Pyramid Construction Corporation > J

Subclass #
209

Sullivan, William and Sheila

Residential Drywall, Inc.

210

Cox, Shawn and Lisa

| Richard Jones Construction Company, Iné., eel.

Chinoy, Raymond and Vinita

Rivercrest LLC/The St. Joe & Company

212

Dunn, Kerth and Krystal

Rivercrest LLC/The St. Joe & Company

212

Foxwell, Craig and Linda

Rivercrest LLC/The St. Joe & Company

212

Johnson, Abraham

Rivercrest, LLC/The St. Joe Company

212

McLendon, Brian and Stephanie

Rivercrest, LLC/The St. Joe Company

212

Morillo, Madelyn

Rivercrest LLC/The St. Joe & Company

212

Quezada, Nelly and Flaque, Gines

Rivercrest LLC/The St. Joe & Company

212

Wienstoer, Danny and Patrick

Rivercrest LLC/The St. Joe & Company

Blalock, Angeles : & EE = :

Malone, Monica

Rocky Ruckman

Young. Mikes 0

Lund, Daniel 7H) and Elizabeth

Russ Mills

Santos, Manue and Afudith oS 5

_Rylex Homes, Ine.

Dearborn, John

S. Petersen Homes, Inc.

Dillinger, Norbert and Svetty, Rita

S. Petersen Homes, Inc.

McNeal, Shievor, : ee

[Sap Specials, ne

Dunlap, Jay and Vanessa

SC Builders, L.L.C.

Stewart, Glenn-and Kristing ‘| Seaside Development, LIC

McKee, Brett and Sara

Sedywick Developers, Inc.

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Schedule “2"— List of Builder/Develaper Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (il)

Plaintif

Befendant

Defendants’
Subclass #

Murphy; Paul and Danielle

| Shelby Homes, Inc.

: eo pas! he

Bosch, Unia

Shoma Homes, Ine

224

Trujillo, Lissett

Shoma Homes, Inc

224

Leon, Daimarys

Shoma Homes, Inc.

224

Barreto, Adol fo.

Shoma-Homes Splendido, Inc. -

Braga, Henry and Deborah

Signature Series Homes, Inc.

226

Walker, Melissa & William

| Smith Family Homes Corporation

Lopez, Rebekah

South Kendall Construction Corp.

228

Pelligra, Anna R.

South Kendall Construction Corp.

228

Valdez. Jore & Juana

South Kendall Construction Corp.

228

Veras, Ingnd

South Kendall Construction Corp,

LLG s.

Azor, Stephanie and Harry

Southern Homes of Broward XI, Inc.

Murdal, Fazeel

Southern Homes of Broward X1, Inc.

Robles, Amparo

Southern Homes of Broward X], Inc.

Bome, Barry and Mary

Braselman, Holly

Fineschi, Nicola and Connie

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Schedule “2"- List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (171)

Plaimtift

Defendant

Defendants'
Subclass #

Kehoe, Molly a

ey Southern Star Construction Company, Inc. cof

Wilfer; ‘Rosanne

| Souther Star Construction Company, Inc...

ee

Slidell Property Managemenl
LLC

Springhill, LLC

232

Hudson, Michelle

my Standard Pacific Homes of South Florida, GP, ee ya

Patterson, Kellie

a ‘Standard Pacific Homes of South Florida, Py

we Inc. .

Robinson, Dane and Patricia a ‘Standard Pacific F Homes of South Foi GP,

.)Tnes:

Lakind, Alan and Linda

Standard Pacific of Southwest Florida GP,
Inc.

Freel, Kevin. : 2 “ os ‘ - Q oP

| Statewide Associates. ne,

Burkhead, Samantha & John L.

Steve Harrington Homes, Inc.

Bowers. Roger Sie

| Steven R. Carter, Ine

Hubbard Michelle al Cutis

‘Sioven R Carter

Peltier, Isaac and Shanon

Hasselschwert, Craig and Jane

Stock Development, LLC

Licon; Eddie a ae a a

Suarez Housing Corporation

Brian, Wilton & Rita

Summit Homes, LLC n/k/a PHL
Constr uction, LLC

Hankins, Lee and Barbar a

Be “Sun Consiruction, LLC.

Riggio, Brenda and Ignatius. 2}.

Sum Construction LLC. ee

Asnaud, Lester and Catherine

Sunrise Construction and Development, LLC

Dinette, Rodney & Geraldine

Sunrise Construction and Develpoment, LLC

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Schedule “2°— List of Builder/Developer Subclasses to Mary Anne Benes’
Substituted and Amended Omnibus Class Action Complaint (I)

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Plain teet

Defendant

Defendants’
Subclass #

LeBlanc, Steven & Dana

Sunrise Construction and Develpoment, LLC

242

Matus, Aldo & Ghady

Sunrise Construction and Devclopment, LLC

242

Wheeier, Don & Agnes

Sunrise Construction and Development, LLC

242

Arnaud, Lester and-Catherine -

_-| Sunrise Homes

Matus, Aldo & Ghady = So :

ae ‘Sunrise Homes. eS

Wheeler, Don & Agnes

~| Sunrise: Homes ae al

Mottolo, Gene

Taylor Morrison, Inc.

-| Taylor Morrison Services, Tne

| Taylor Morrison Services, Inc.

Hombeck, Ronald and Linda

The Haske!] Company

Nuccio, Thomas and Darlene

The Haskell Company

Reaves, Eugene W.IV

The Haskell Company

Casey, William and Pamela

_ | The Jade Organization, Inc

Demurgian, Edward and Tonya

The Ryland Group, Inc.

Faley Nangy A

| Thomas R, Gould; Ine.

Cheramie, Bertoule and Joan

Thompson Wood Products, Inc.

McMahon, William R. And Setsuke Q

‘Tillman Construction, Ine.

Bradley, Chnis

Timberline Builders, Inc.

Whitlock, Scott and Lucille

Timberline Builders, Inc.

Cattano, Phyllis.

~<-| Timberline Homes) 0

Ball, Ashlev

Toll Estero Ltd. Partnership, d/b/a Toll
Brothers

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Cross, etal. ». Kaauf Gips KG, et al.

Schedule “2° List of Builder/Developer Subclasses to Mary Anme Benes’
Substituted and Amended Ommibus Class Action Complaint TH)

Plammthf?t

Defendant

Defendanis'
Subclass #

Peterson, Derrick & Robin:

“| Treasure Coast Communities, Ine. -

255

Grover, Adam and Keely

Trust America Homes, Inc.

256

Martinez, Dailyn

- United Home Builders, Inc. ce

257

Haughton, Marcia

United Homes, Inc.

Nuss, Doug:

: | US Home Corporation, a Delaware pe
ee | -Corporation i. oo Se es

Butler, Mary

Veal Enterprises, Inc.

Peoples, Debra ee Fe ee

~ | Venture Homes

Flint, Joseph & Sloan, Danielle

Venus Street, LLC

Vaca, Amada

Venus Street, LLC

DeMange j Craig, oo : a : : =

| Waterways Joint Venture IV

- | Waterways Joint Venture, I

Petrella, Elaine

S “Waterways Joint Venture TV" oe

Goede, John and Kristin

Waterways Joint Venture 1V, LLC

Sanon, Lnock and Marie’ Ys nl oe, ad WB Construction Company , Ine

Pitcher, John

Brust, Gina

Wellington Shores-Wellington Limited
Partnership

Fluharty, Carson, & Charl ene a .  Westerheim Properti es, Inc.

Willey, Ryan & Danielle.

| Westetheim Properties, Ine.

Williams, Susie

William P. Joseph Jr. Construction, Inc.

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Gross, et al. v. Knauf Gips KG, et al.

Schedule '3"— List of Contractor/Installer Subclasses to

Mary Anne Benes’ Substituted and Amended Omnibus Class Action Complaint (111)

Subclass #270:
Subclass #271:
Subclass #272:
Subclass #273:
Subclass #274:
Subclass #275:
Subclass #276:
Subclass #277:
Subclass #278:
Subclass #279:
Subclass #280:
Subclass #281:
Subclass #282:
Subclass #283:
Subclass #284:
Subclass #285;
Subclass #286:
Subclass #287:
Subclass #288:
Subclass #289:
Subclass #290:
Subclass #291:
Subclass #292:
Subclass #293:
Subclass #294:
Subclass #295:
Subclass #296:
Subclass #297:
Subclass #298:
Subclass #299:
Subclass #300:
Subclass #301:
Subclass #302:
Subclass #303:
Subclass #304:
Subclass #305:
Subclass #306:
Subclass #307:
Subclass #308:

Aced Interior Drywall, Inc.

Aggies First Call Contractors

B &B Stucco, Inc.

Banner Supply Company Fort Myers, LLC
Baron Construcuion Co.

Beta Drywall, LLC

Billy Wayne Goekler

Brandon Gremillion

Brent Garrod Drywall, Inc.

Brian Saltalmachia

Burmon Properties, LLC

By George, Inc.

C.A. Steelman, Inc.

C.L. Paul Plastering, Inc.

Capital Construction

Cemex, Inc. (formerly CSR Rinker)
Chavez

CMH Manufacturing, Inc.

Colvin Homes , Inc.

Continental Classic Construction, Inc.
Coral Plastering & Wall Systems, Inc.
Dave’s Drywall

DeLaCruz Drywall Plastering & Stucco, Inc.
Deloach Corporation

Done-Rite Construction

Drywall Done Right

Dwayne Wilhams

Dynamic Contractors

Ed’s Drywall & Construction

First Choice Drywall Services, Inc.
Flonda Style Services, Inc.

G. Drywalls Corp.

George Meza

Gulf South Drywall

HC Seals Drywall Partners
Hendnckson Contracting
Interlor-Exterior

J&S Drywall

J.B. Homes, Inc.
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Subclass #309:
Subclass #310:
Subclass #311:
Subclass #312:
Subclass #313:
Subclass #314:
Subclass #315:
Subclass #316:
Subclass #317:
Subclass #318:
Subclass #319:
Subclass #320:
Subclass #321:
Subclass #322:
Subclass #323:
Subclass #324:
Subclass #325:
Subciass #326:
Subclass #327:
Subclass #328:
Subclass #329:
Subclass #330:
Subclass #331;
Subclass #332:
Subclass #333:
Subclass #334:
Subclass #335:
Subclass #336:
Subclass #337:
Subclass #338:
Subclass #339:
Subclass #340:
Subclass #341:
Subclass #342:
Subclass #343:
Subclass #344:
Subclass #345:
Subclass #346:
Subclass #347:
Subclass #348:
Subclass #349:
Subclass #350:
Subclass #351:

Jacob Chapman

James Walker

Jay 37 Construction, LLC

Jeff Laporte

John Kidd

Johnny Weary

Karr Drywall, Inc.

Kelley Drywall, Inc.

Kenneth Campo

Lawrence McCorvey

Leon Ramsey

M & M Construction

Magnolia State Construction, Inc.
Maguel Torez

Mario Salvana

Martinez Drywall & Painting, LLC
MATSA Construction

McLean Drywall

Meeks Drywall & Stucco, Inc.
Mesa Construction Group. Inc.
Michael Hownrd

Norman Gannon

NuWay Drywall, LLC

O.C.D. of S. Florida, Inc.

P.D.C. Drywall Contractors, Inc.
Paul England Construction
Precision Drywall, Inc.

R & B Housing, LLC

Ray Horvath Drywall, Inc.
Redman Homes, Inc.

Residential Drywall, Inc.

RJL Drywall, Inc.

Roman Gonzalez

Sands Construction Group, LLC
Sorrento Lumber Co., Inc.

Space Coast Truss, LLC

Speedy Drywall

Steve Suchmel

Stewart’s Remodeling Electrical
Swedberg Enterprises, Inc.

Titan Demolition and Construction, LLC
Total Community Action
United Drywall & Stucco, Inc.

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Subclass #352: Victor Bustillos

Subclass #353 VP Construction Services, Inc.
Subciass #354: Walter Ferri

Subclass #355: William Hurst

Subclass #356: Wilhe Kelly Construction Co.

Pave 3 of 3
Case RQ Qiatt02040- EEEeWiBN toDOcsiakbet QUBdasseFled bare weoe Bewgs'61 of 66

Substituted and Amended Omnibus Class Action Complaint (ED)

Plainciff

Defendant

Defendants’

Subclass #

Adcock, Michael and Bridgitte | Aced Interior Drywall, Ine...

Malhoe, Ashok

| Aced Interior Drywall. tne

Santiago, Angel and Yvette. :

“ Aced Interior Drywall, Inc. | ae

270

Alfred, Janice

Aggies First Call Contractors

Page, Michael-and Rikke

Appelman, Lou & Sar

Hunter, Dorothy

Banner Supply Company F Fort Myers, LLC

fe, s ‘Baron, Construction Co.

McLendon, Brian and Stephanie

Beta Drywall, LLC

Morrison, Robert & Sandra ° | Billy Wayne Goekler

White, Jerry P. and Celeste E.

Brandon Gremullion

Grover, Adam-and-Keely Lae : “

| Brent Garrod Drywall. Inc.

Bryant, Debra

Bnan Saltalmachia

Mowers. Evelyn B oe

Casey, William and Pamela

Hornbeck, Ronald and

By George, Inc.

Nuccio, Thomas and Darlene

Reaves, Eugene WIV dC

Sanon, Enock and Marie

Anderson, Quaintrell T. oe ole

Brackett, Orlesa We”

MeBride, Shisley Ann | Capi

Licon, Eddie

Anderson, Clarence & Be
Constance So

Mayeux, Cory & Kristy

CMH Manufacturing, Inc.

Page 1 of 6

Case-RiQuad302047 BELO MEAL euraHet SaB ides dled WAY AbGe Bages62 of 66

Substituted and Amended Omnibus Class Action Complaint (IEE)

Plaimgtt

Defendant

Defendants'

Subclass #

Clarke, Wayne Go -

S Colvin Homes , Ine. " “

Thiroux, Freddie & Glenda

Continental Classic Construction, Inc.

289

Sheehan, Michael

_[comtPisering & Wall Syaemis ne, |

Dixon, Perry & Deborah

Dave's Drywall

29]

Carciato, Lisa

~_[Batacrue Deal Pasering & Sacco, the.

Gill, Ted and Pamela -

|| DéLaCruz Drywall Plastering & StuccoyInc..

Boudreaux, Shawn and Justine

Deloach Corporation

293

Lambert, Robert & Tasha. : a

Done-Rite Construction

Anderson, Judith

Drywall Done Right

Riley, Willie James

Melton, John & Tamara

Dynamic Contractors

Casburn, Richard and Judy

Dickinson, William |

Maniscal

3;

Martin, Victor and Geraldine

‘Teitelbaum, Donna and Rénald | Flori

Page 2 of 6

Case: ReaqHe0302047- FRFoNBArtDGnumbet LOB seFilecOaeWaee Bewss'63 of 66

Substituted and Amended Omnibus Class Action Complaint (iD)

Plaintiit

Defendant

Defendants’

Subclass #

Wilson, Diane and Richard... :

| Hlorida Style Services, ne

Nemes. Robert and Frances

. Drywalls Corp.

301

Pictranionio, Tamie

. Drywalls Corp.

301

Dekeyser, Phyllis and Lee

. Drywalls Corp.

301

Ewald, Thomas and Christina

361

Kepler, LLC

. Drywalls Corp.

301

Mastrogiacomo, Kim

G
G
G
G. Drywalls Corp.
G
G

. Drywails Carp.

301

Meister, David and Diane

G. Drywalls Corp.

301

Roth, Stephen

G. Drywalls Corp.

Mayo, Edward: and Jacqueline no

Branning, William and Betty

Gulf South Drywall

Back, Charles and Mary | IC Seals

Braselman, Holly.

Fineschi, Nicola'and Conn

Wilfer, Rosanne

Steubben, John & Grace

Bradley, Jimmy & Louise | Tnterior-E

Deharde, Kelly and Christopher

J & 8 Drywall

‘LeCarpentier,. Jacques. ee oe

Homes, tne.

Conrad, Jesse and Gelone

Jacob Chapman

Simmons, Penny”:

Roberts, Robert

Jay 37 Construction, LLC

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Case-8:QGHmd302047 BEF oMBN te DOaumbet 8kBéldssditedOa/e Wade Bewes'64 of 66

Substituted and Amended Omnibus Class Action Complaint (IIT)

Plain age

Defendant

Defendants’

Subclass #

Arroyo, Terrell and Lionel’.

- Jeff Laporte

312

Anderson, Brodrick J.

John Kidd

Dunn. Diane =. -

. Johnny Weary’ .

Dearborn, John

Karr Drywail, Inc.

Webster, James & Rosalie

: Kelley Drywall, Inc. .

Belsom, Scott and Jennifer

Kenneth Campo

Washington, Eugene & Yvonne

Lawrence McCorvey ..

Grissom, John D. & Becky

Leon Ramsey

Fletcher, Gregory & Diane.

| M&M Construction.

Scatt, Pearl

Magnolia State Construction, Inc.

Baptiste, Harrison

Manio Salvana

Whitfield, Tydell Nealy |

Fores, David
Vasquez, Monica

MATSA Construction

Helmick, Timothy & Mana

MATSA Construction

Dillard, Ronnie and Linda

| MeLeat

Appelman, Lou & Sara

Meeks Drywali & Stucco, Inc.

‘Wites, Mare and Jennifer.

| Mesa Construction

roup, The.

Delk, Smith

Michael Hownrd

Williams. Susie - : eS . ey

Hummer, Charles

NuWay Drywall, LLC

‘Wites, Mare and Jennifer

Garcia, Nerio, Hedy M.
Mazzarri, Clara

P.D.C. Drywal! Contractors, Inc.

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Case Reaginds02047 BEEBE Nt Paumbet S48 edssdikedOB#LAbOe Bages65 of 66
Substituted and Amended Omnibus Class Action Complaint (III)

Pian tiff Defendant Defendants’
Subclass #

Coleman, Charles. me / | Paul England Construction o oe ee oe - ah 3347 . an

Metcalfe, George & Amy Precision Drywall, Inc. 335

Bertholette, Anna nad Leslie coos R&B Housing, LLC Le ee She, 336) os

Foster, Gregg Ray Horvath Drywall, Inc. 237

Montoya, Prank & Ewa Ann ous Redman Homes, Inc. ae - oy Re Fs : a eee 338 of

Hoffman, Hannelore Residential Drywall, Inc. 339
Lengel, Donna

Evans. Donald and Barbara Residential Drywall, Inc. 339

Lau, Donald Residential Drywall, Inc. 339

Nord, John Residential Drywall, Inc. 339

Seddon, Robert and Joan Residential Drywall, Inc. 339

Pollux, LLC | UL Drywall Inc. Ce

Gross, Cheryl and David Roman Gonzalez 341

Anderton, Gloria & Georg

Anderton, Gloria and George

Griffin, Thomas

Delase Johiaad saa

Hotard, Christopher Speedy Drywall

Steve Suchmel a

Eleuterius; Gregory and
Elizabeth 000

Breaux, Roy Jr. Stewart's Remodeling Electrical 347

Lee, Kevin A Le ae . ee ‘Swedbera Enterprises, In .

Burton, Rose and Tebault Titan Demolition and Construction, LLC 349

Brock, Ore Total: Community / Action .

Dekeyser, PhylJis and Lee United Drywall & Stucco, Inc. 351

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Cass<aabrin t202G4i7 (BEC MmBactidosmber SubTidssdiledMareainae Bayes&66 of 66

Substituted and Amended Omnibus Class Action Complaint (Ii)

Pla tiff Defendant Delendants'
Subclass #
Ewald, Thomas and Christina United Drywall & Stucco, Inc, 345]
Kepler, LLC United Drywall & Stucco, Inc, S55
Mastrogiacomo, Kim United Drywall & Stucco Inc. 351
Meister, David and Diane United Drywall & Stucco, Inc. 45]
Nemes, Robert and Frances United Drywail & Stucco, Inc. 3451
Pietrantonio, Tamie United Drywall & Stucco, Inc, 35{
Roth, Stephen United Drywall & Stucco, Inc. 351
Mays, Bobby and Gina | Victor Bustillos 352.
Howell, Patricia VP Construction Services, Inc. 353

Wiley, William & Joan’ | Walter Feri 354
Anderson, Shirley Wilham Hurst 355
Moore,Evelyn | Willie Kelly Construction Co. 356

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